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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
     Plaintiff-Appellee,                   )
                                           )
     v.                                    )     No.   98 CR 434-9
                                           )
MICHAEL BLACK,                             )
                                           )
     Defendant-Appellant.                  )

                             MEMORANDUM ORDER

     Michael Black (“Black”) continues to pursue post-sentencing

relief that this Court has been constrained to deny on a repeated

basis--this time he tenders two pro se submissions captioned

“Petitioner’s Motion To Clarify All Matters Before the Honorable

Milton I. Shadur” and “Petitioner’s Addendum to Original Motion

To Set Aside Judgment Pursuant to Rule 60(b)(6).”              As much

sympathy as this Court has for Black’s distressing physical

ailments, it simply cannot fit the granting of relief against the

Bureau of Prisons within the framework of this criminal case.

This Court has told Black so several times in several different

ways, but he simply does not listen.

     No view is expressed here as to whether Black may be able to

stake out a claim in some other fashion and in some other forum.

But as to this one, unlike the common phrase “Enough is enough,”

here “Enough is too much.”

                              ________________________________________
                              Milton I. Shadur
                              Senior United States District Judge
Date:     August 20, 2007
